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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION


ALLISON KING, on behalf of herself and all               CASE NO. 6:20-cv-00504
others similarly situated,
                                                         CLASS ACTION COMPLAINT
                     Plaintiff,
                                                         DEMAND FOR JURY TRIAL
            v.
BAYLOR UNIVERSITY,
                     Defendant.


            Plaintiff Allison King (“Ms. King” or “Plaintiff”), on behalf of herself and all others
similarly situated, hereby bring this Class Action Complaint against Defendant Baylor University
(“Baylor” or “Defendant”). Ms. King makes the following allegations based upon actual
knowledge as to her own acts, and upon information and belief, including the investigation of her
attorneys, as to all other matters.
                                       NATURE OF THE ACTION
            1.       There is no question that classroom learning—and all of the experiences that come

with on-campus education—is more valuable to the student than online learning. Students pay—
and borrow—hundreds of thousands of dollars for the on-campus college experience because it
provides the students the opportunity to engage directly with their professors, to meet and share

experiences with diverse and accomplished individuals from around the world, to join student
clubs, to build professional networks, and to experience the campus environment. Online learning
offers none of these opportunities—and carries few of the massive expenses associated with live
classroom learning. For these reasons, many students spend tens of thousands of dollars on private
colleges and universities that afford the opportunity for in-person college education.
            2.       Ms. King, a Baylor student, paid tuition and fees to attend Baylor, participated in
Baylor’s meal plan, and took advantage of the full on-campus college experience until the spring
of 2020, when that experience was taken away from students at Baylor.




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            3.       In March 2020, in response to the outbreak of the SARS-CoV-2 virus, the virus that
causes the COVID-19 disease (the “COVID-19 pandemic”), Baylor, like many other universities,

moved all learning online for the remainder of the Spring 2020 semester. Baylor cancelled athletic
and other on-campus recreational events, cancelled students’ meal plans, and ordered students to
refrain from going on campus.
            4.       As a result, all on-campus classes, dining, and other services and amenities were no
longer available to Baylor students.
            5.       Despite the harsh reality that students could no longer learn on campus, Baylor
refused to provide a prorated refund of fees tied to on-campus services and amenities that were not
available to students for a significant part of the Spring 2020 semester. In addition, by requiring

students to pay (and many to borrow) full tuition for the Spring 2020 semester, Baylor did not take
into account the difference in value between the college experience the school is now offering
compared to what students were promised. Finally, although Baylor provided credits for unused

meal plans and dining dollars, students are entitled to a refund and to use their money as they see
fit.
            6.       Accordingly, the students have lost the benefits of the bargain for services and
education for which they paid but can no longer access or use.
            7.       While prorated refunds for tuition, meal plans, and fees charged for services not

provided will not replace the lost on-campus experience, they would provide Ms. King and the
putative Class Members with some financial relief as many students prepare to graduate into a
depressed job market.
            8.       By not giving prorated refunds for tuition, meal plans, and fees charged for services
not provided, Baylor breached its contracts with students and is alternatively unjustly enriched, as
it will reap the consequential benefits of revenue while students are deprived of much needed cash.
            9.       It cannot be disputed that the circumstances underlying this legal action are
unfortunate and unprecedented. However, the students did not choose this circumstance, and they
certainly did not agree to pay for tuition and fees when learning remotely without the use of the



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services for which they paid handsomely.
            10.     It is unfair and unlawful for Baylor to retain tuition and fees for services not being

provided and to pass the losses on to the students.
            11.     Ms. King brings this class action for damages, restitution, and declaratory relief
resulting from Baylor’s retention of the full tuition, meal plan, and fees paid by Ms. King and the
other putative Class Members for services not being provided. Specifically, this lawsuit seeks
disgorgement of the prorated, unused amounts of the meal plans, dining dollars, and fees that Ms.
King and other putative Class Members paid, but for which they (or the students on behalf of
whom they paid) will not be provided the benefit, as well as a partial tuition reimbursement to
compensate for the diminished value of remote instruction along with the portion of the tuition

that funds on-campus services, facilities, and extra-curricular activities that ceased when Baylor
closed the campus.
                                                 PARTIES

            12.     Ms. King is a citizen of Texas, residing in McAllen, Texas. She paid full tuition
and fees for the Spring 2020 semester at Baylor. Ms. King was forced to move to exclusively
online classes, refrain from visiting campus, and prevented from utilizing Baylor’s meal plan,
among other services she paid for.
            13.     Ms. King enrolled at Baylor for the Spring 2020 semester, which was scheduled to

run from approximately January 13, 2020 through May 11, 2020. Ms. King has not had access to
campus since March 8, 2020 because the university closed from March 9, 2020 to March 17, 2020
for spring break, and after that, the campus was closed due to COVID-19. Ms. King paid tuition,
meal plan that came with $150 in dining dollars, and fees for the Spring 2020 semester, the benefits
of which she lost because Baylor closed the campus and cut off access to on-campus services,
facilities, and extra-curricular activities.
            14.     Baylor is a private, not-for-profit university incorporated in the State of Texas with
its principal place of business in Waco, Texas. Baylor may be served through its registered agent:
CT Corporation System, 1999 Bryan St., Ste. 900, Dallas, TX 75201.



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                                     JURISDICTION AND VENUE
            15.     Venue is proper in this district because Baylor resides in this district. 28 U.S.C.

§ 1391(b)(1).
            16.     The Court has original jurisdiction under the Class Action Fairness Act, 28 U.S.C.
§ 1332(d)(2)(A), because the matter in controversy exceeds the sum or value of $5,000,000.00,
exclusive of interests and costs, and is a class action in which one or more of the Class Members
are citizens of a State different from the Baylor.
            17.     This Court has personal jurisdiction over Baylor because its principal place of
business is within this district.
                                      FACTUAL ALLEGATIONS

      A. On-Campus Education
            18.     Students who enroll in Baylor’s on-campus programs and classes do so because in-
person education enhances and contributes to the overall educational experience. Students

choosing an on-campus learning environment pay for the opportunity to have in-person classes
featuring direct interaction with faculty and on-campus amenities and activities, including the
dining hall, library, fitness center, pool, sporting events, and other extra-curricular activities.
            19.     Baylor tells prospective students:
            The Baylor college experience is special. We cultivate a rich campus life that will
            help you grow intellectually, spiritually and emotionally. Whether you’re enjoying
            Diadeloso (our campus-wide “Day of the Bear” celebration), taking some time to
            reflect in chapel or just hanging out over coffee, you’ll feel like a part of the Baylor
            family from the moment you set foot on Fountain Mall.1

            20.     Baylor invites prospective students to, “[e]xplore the picturesque Baylor Campus
and learn more about our state-of-the-art facilities that blend historic beauty with innovative
function.”2 It also boasts its exciting athletics program:
            Baylor is a charter member of the powerful Big 12 Conference, which means
            students enjoy the excitement of Division I athletics and receive free tickets to all

1
 https://www.baylor.edu/admissions/index.php?id=924749 (last accessed on June 2, 2020).
2
 https://www.baylor.edu/admissions/whybaylor/index.php?id=968114 (last accessed on June 2,
2020).


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            sporting events! Not quite at that level of play yourself? No worries. Baylor also
            offers competitive and recreational sports for all students through club and
            intramural groups.3

            21.     On-campus offerings include the McLane Student Life Center, a 156,000 sq. ft.
multi-recreational facility that features the tallest free-standing climbing structure in Texas, an
aquatics center, 3-tiered fitness facility, and four courts equipped to support basketball or
volleyball.4 Baylor is home to over 330 student organizations, including academic and professional

clubs, traditional Greek sororities and fraternities, honor societies, musical groups, and religious
and service organizations.5
            22.     Baylor made the decision to close its campus on or about March 16, 2020.
            23.     Ms. King and other Baylor students did not pay for online-only courses in a fully
remote learning environment without access to campus facilities.
            24.     Several studies have shown that online learning is not as effective as traditional, in-
person instruction. For example, a study from the Community College Research Center which
compared online and face-to-face course outcomes found that “failure and withdrawal rates were
significantly higher for online courses than for face-to-face courses.”6 Those who completed the
online courses received poorer grades than students who attended in person.7 The study concluded
that “online courses may exacerbate already persistent achievement gaps between student
subgroups.”8 Another study that compared outcomes for students in California community
colleges also concluded that “in the short term, course by course, student outcomes are worse in




3
    https://www.baylor.edu/admissions/index.php?id=872004 (last accessed on June 2, 2020).
4
   https://www.baylor.edu/campusrec/index.php?id=931299 (last accessed on June 2, 2020).
5
  https://www.baylor.edu/admissions/index.php?id=872294 (last accessed on June 2, 2020).
6
  Community College Research Center, What We Know About Online Course Outcomes, Research
Overview 2 (April 2013), https://ccrc.tc.columbia.edu/media/k2/attachments/what-we-know-
about-online-course-outcomes.pdf.
7
  Id. at 3. Adding controls for student socioeconomic and educational characteristics increased the
negative outcomes associated with online learning. See id. at 4.
8
   Id. at 6.


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online courses than in traditional courses.”9
            25.     Faculty, academic leaders, employers, and the public remain skeptical about the

value of online education.10 In 2013, a Gallup poll found that “Americans’ overall assessment of
internet-based college programs is tepid at best.” The majority of Americans found internet-based
college programs to be “only fair” or “poor.”11
            26.     In ten national surveys of chief academic officers by the Babson Survey Research
Group during the 2002-2015 period, no more than a third reported that their faculty “accept the
value and legitimacy of online education.”12 In a 2012 survey of over 4,500 faculty, two thirds
reported that learning outcomes for online courses are “inferior or somewhat inferior” when
compared to face-to-face courses; with only 6% reporting outcomes for online instruction as

“superior or somewhat superior.”13
            27.     The Chronicle of Higher Education has also found that online colleges ranked last
in terms of “employer desirability of college type”; indeed, online programs were the only type of

college found to be undesirable.14 And a 2013 study found that over half of employers prefer “a
job applicant with a traditional degree from an average school over an applicant with an online
degree from a top university (just 17 percent say they’d prefer the latter).”15 Thus, students who


9
  Hans Johnson and Marisol Cuellar Mejia, Online Learning and Student Outcomes in California’s
Community Colleges, Public Policy Institute of California 1 (May 2014),
https://www.ppic.org/content/pubs/report/R_514HJR.pdf.
10
   I. Elaine Allen, et al., Online Report Card: Tracking Online Education in the United States,
Babson Survey Research Group & Quahog Research Group, LLC 9 (Feb. 2016),
https://onlinelearningsurvey.com/reports/onlinereportcard.pdf.
11
   See Lydia Saad, et al., In U.S. Online Education Rates Best for Value and Opinions; Viewed as
Weakest in Terms of Trusted Grading and Acceptance by Employers, Gallup (Oct. 15, 2013),
https://news.gallup.com/poll/165425/online-education-rated-best-value-options.apx.
12
   I. Elaine Allen, et al., supra note 14 at 6.
13
   I. Elaine Allen, et al., Conflicted: Faculty and Online Education, 2012, Babson Survey Research
Group & Inside Higher Ed (Feb. 2012), https://files.eric.ed.gov/fulltext/ED535214.pdf.
14
   The Role of Higher Education in Career Development: Employer Perceptions, Chronicle of
Higher                      Education                  (Dec.                 2012),https://chronicle-
assets.s3.amazonaws.com/5/items/biz/pdf/Employers%20Survey.pdf.
15
   Public Agenda, Not Yet Sold: What Employers and Community College Students Think About
Online Education (Sept. 13, 2013), https://www.publicagenda.org/reports/not-yet-sold-what-
employers-and-community-college-students-think-about-online-education/.


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receive entirely online instruction will have “limited labor market opportunities as long as these
strong views persist among employers.”16
      B. Baylor Orders Students Home and Closes Campus In Response to the COVID-19
         Outbreak

            28.     Before beginning the Spring 2020 semester at Baylor, Ms. King paid $21,421.00 to
Baylor to cover her Spring 2020 semester tuition. Ms. King also paid a yearly General Student Fee
in the amount of $2,261, a Course Lab Fee of $50.00 for one of her courses, and a Chapel Fee of
$90.00. Finally, Ms. King paid $1,773.14 for her meal plan, along with another $150.00 of dining
dollars for the Spring 2020 semester.
            29.     Spring 2020 semester classes at Baylor began on or about January 13, 2020, just
like any other semester, with Ms. King attending classes in-person and on campus. Final exams
for the semester were scheduled to end on or about May 11, 2020.
            30.     Baylor’s spring break began on or about March 9, 2020 and was supposed to end
on March 17, 2020.
            31.     But on March 11, 2020, as a result of the COVID-19 pandemic, Baylor announced
that spring break would be extended one week, through March 22, 2020, and that beginning on
March 23, 2020, all on-campus classes would be moved online for the next two weeks, through
April 3, 2020.17 On March 13, 2020, Baylor announced that all university activities, events,

conferences and large gatherings were also suspended from March 16, 2020 through April 3,
2020.18
            32.     On March 16, 2020, Baylor notified its students that it had made the decision to




16
   Id.
17
     COVID-19 Extends Spring Break, Prepare for Online Instruction, available at
https://www.baylor.edu/president/news.php?action=story&story=217915 (last accessed on June
2, 2020).
18
   Baylor   COV-19      updates,     plans    for    next    3   weeks,     available   at
https://www.baylor.edu/president/news.php?action=story&story=217992 (last accessed on June
2, 2020).


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extend online instruction at Baylor for the remainder of the Spring 2020 semester.19 In this
communication, Baylor also advised that “dining options on campus will be significantly limited,

primarily to grab-and-go options at one location, and recreational opportunities will be
unavailable, including those in the McLane Student Life Center.”20 Furthermore, Baylor advised
that all university activities, events, conferences, and large gatherings would be suspended through
the end of the semester.21
            33.     On or about March 30, 2020, Baylor made an announcement about refunds and
announced that all meals plans would be prorated by the daily rate associated with the plan and
students would be given a credit of that amount and that all unused dining dollars will roll forward
to the next semester.22 The foregoing applies to all meal plans, including the Block Meal Plan.23

However, students are entitled to refunds of their meal plans, not credits.
            34.     Baylor also announced that the General Student Fee would not be credited, and that
it would not be refunding lab fees.24

            35.     Baylor has also refused to refund any tuition,25 even though Ms. King and other
Class Members paid tuition for an on-campus experience with in-person instruction and access to
on-campus facilities.
            36.     The value of these services was severely diminished for the Spring 2020 semester.
With academic instruction moved entirely online, Ms. King and other Baylor students were

deprived of the benefits of on-campus learning, and Ms. King and other Class Members were
deprived of the benefit of the bargain for which they paid.
            37.     Yet Baylor has refused to refund any portion of tuition, which students paid under


19
    Baylor to go online remainder of semester, Commencement postponed, available at
https://www.baylor.edu/president/news.php?action=story&story=218018 (last accessed on June
2, 2020).
20
   Id.
21
   Id.
22
   https://www.baylor.edu/coronavirus/index.php?id=967403 (last accessed on June 2, 2020).
23
   Id.
24
   Id.
25
   Id.


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the assumption of an on-campus experience, or proportional prorated amounts of Fees, even
though those Fees specifically cover on-campus facilities and activities.

            38.     Baylor, a well-endowed, Christian-affiliated private university, apparently expects
its students to shoulder the financial brunt of the COVID-19 pandemic alone, notwithstanding that
students are the worst positioned to be able to do so.
            39.     Indeed, more than two thirds of students graduate college with student loan debt.
Student loan debt has ballooned to nearly $1.56 trillion dollars, with the average student loan debt
for the class of 2018 at $29,200.
            40.     The average borrower must spend hundreds of dollars per month repaying student
loans—averages range from $300 to nearly $600 across surveys—and many borrowers struggle to

repay their loans.26 It is therefore unsurprising that over 10% of borrowers default on their loans.27
Even among borrowers who remain current on their payments, a 2019 survey found that student-
debt holders spent 20% of their take-home pay on their student loans—reducing the amount they

can save for retirement, a down payment on a home, unexpected medical expenses, to care for
elderly relatives, and other expenses and emergencies.28
            41.     Moreover, students graduating in 2020 will struggle as they face an abysmal job
market, whether or not they took out loans to fund their education. On May 8, 2020, the United
States Bureau of Labor Statistics reported that 20.5 million Americans lost their jobs in April 2020,

pushing the unemployment rate up to 14.7% from 4.4% in March 2020.29 Students have already
lost on campus jobs or in their college towns, as well as internships that help them build their
resumes, due to the pandemic. Now they are preparing to enter a workforce at a time when tens of

26
   Nigel Ohiwaya, These five charts show how bad the student loan debt situation is, NBC News
(April 24, 2019), https://www.nbcnews.com/news/us-news/student-loan-statistics-2019-n997836;
see also Abigail Hess, Survey finds that student debt holders spend 20% of their take-home pay on
loans, CNBC (Aug. 8, 2019), https://www.cnbc.com/2019/08/08/student-debt-holders-spend-
20percent-of-their-take-home-pay-on-loans.html.
27
   Id.
28
   Hess, Survey finds that student debt holders spend 20% of their take-home pay on loans, supra
note 22.
29
   https://www.bls.gov/news.release/empsit.nr0.htm (last accessed May 8, 2020).



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millions are filing for unemployment. The Class of 2020 is graduating into the worst job market
in a generation, and there is no telling how long it will take for the country to recover.

            42.        Yet there has been no indication that the federal government or private lenders will
forgive student loans simply because student borrowers saw their educations disrupted by the
pandemic and will likely struggle to pay off their student loans. And it would be manifestly unjust
that students, including Ms. King, should have to shoulder this burden when they have not even
received the benefit of the bargain for which they took out those loans in the first place.
                    A. Tuition
            43.        Baylor offers an in-person, hands-on curriculum. Ms. King and the putative Class
Members paid for in-person classes and to otherwise receive an all-encompassing “life on-

campus” experience.
            44.        Thus, Ms. King and Class Members paid Baylor for, and Baylor in turn agreed to
provide, services including:

                       a.     Face to face interaction with professors, mentors, and peers;
                       b.     Hands-on learning and experimentation;
                       c.     Networking and mentorship opportunities;
                       d.     Access to on-campus facilities such as computer labs, libraries, study
                              rooms, and laboratories;
                       e.     Student government and student unions;
                       f.     Extra-curricular activities, groups, and intramurals; and
                       g.     Student culture, student development, and other similar activities.

            45.        Ms. King and other Class Members paid tuition, the value of which has now been
severely diminished, as well as Fees for the Spring 2020 semester.
            46.        As the research indicates, students who are forced to attend classes online, rather
than in person, are unlikely to receive the same quality of education and experience as they would

from online instruction. This has been borne out in Ms. King’s personal experience.
            47.        For example, Ms. King has found the lack of first-hand access to her instructors
and advisors difficult as they are less accessible remotely than they were when she was on campus.




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Classes have been canceled or shortened due to technical glitches. In addition, some professors
would merely post assignments for students to complete on their own, rather than provide live

instruction as they did in the past.
            48.        Additionally, critical hands-on instructional experiences and interactions that
complement pure lecture time were not replaced with similarly complementary remote learning
tools.
                    B. Fees
            49.        On top of tuition, Baylor required students to pay a General Student Fee in the
amount of $2,261.00 for the Spring 2020 semester.30
            50.        Ms. King, like many other students, also paid a Course or Lab Fee in the amount of

$50.00 for one of her courses.
            51.        In addition, Ms. King paid a Chapel Fee of $90.00, that is required of all Baylor
students for two semesters.

            52.        Baylor also provides other services for a fee including Parking Fee, Yearbook Fee,
Student Life Center/Health Center Fee, Athletic Events Attendance Fee, and others.
            53.        These required and optional fees are collectively referred to herein as the “Fees.”
                    C. Meal Plan
            54.        Students paid anywhere from $850.69 to $3,037.03 per semester for Baylor’s

various meal plans.31
            55.        Ms. King paid $1,773.14 for her selected Classic 10 Meal Plan along with another
$150.00 in dining dollars for the Spring 2020 semester.
            56.        Given the closure of Baylor’s campus, Ms. King, and other students similarly
situated, lost approximately half of the Spring 2020 semester’s on-campus classes, activities, and
meals.



30
   https://web.archive.org/web/20190826052701/https:/www.baylor.edu/admissions/index.php?id
=872111 (last accessed on June 2, 2020).
31
    https://www.baylor.edu/sfs/index.php?id=936925 (last accessed on June 2, 2020).


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                    D. Students Are Experiencing Significant Losses, in Many Cases of Borrowed
                       Funds as a Result of Defendant’s Conduct

            57.        At Baylor, the median federal loan debt among borrowers who completed their

undergraduate degree is $24,000.00.32 The median monthly federal loan payment (if it were repaid
over 10 years at 5.05% interest) for student federal loan borrowers who graduated from Baylor is
$255.00.33
            58.        In addition, 14% of graduating students at Baylor University took out private
loans.34 Students with private loans had an average of $43,670 in private loan debt at graduation.35
            59.        With the academic instruction entirely online, Ms. King and Class Members have
been deprived of the benefits of on-campus learning as set forth above. Yet, Baylor has refused to
refund any portion of the tuition, which is not worth as much as Ms. King and Class Members paid
under the assumption of an on-campus experience.
            60.        Ms. King and the putative Class Members are entitled to a refund and use of the
money that they paid Baylor for on-campus instruction and on-campus experiences. Students could

use that money to pay for expenses; to defray the costs of lost jobs or internships over the summer;
or, for students who took out loans, to reduce their loan obligations.
            61.        Baylor has retained the value of the monies paid by Ms. King and the Class
Members for tuition, Fees, and meal plans for the Spring 2020 semester, while failing to provide
the services for which those monies were paid.

            62.        Through this lawsuit, Ms. King seeks for herself and the other Class Members: (i)
Baylor’s disgorgement of the unused portion of all Fees, meal plans, and dining dollars for the
Spring 2020 semester, proportionate to the amount of time that remained in the Spring 2020
semester when classes moved online and corresponding campus services ceased being provided



32
   https://www.usnews.com/best-colleges/baylor-university-6967/paying (last accessed on June
2, 2020).
33
   Id.
34
   Id.
35
   Id.


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and (ii) a prorated tuition reimbursement to compensate for the diminished value of remote
instruction and the portions of the tuition attributable to access on-campus facilities and extra-

curricular activities of which students are no longer receiving the benefit. Ms. King seeks return
of those amounts on behalf of herself and the Class Members as defined below.
                                  CLASS ACTION ALLEGATIONS
            63.     Ms. King brings this action on behalf of herself and the following class of persons
pursuant to Federal Rule of Civil Procedure 23(b)(3):
            All students who paid, or other persons who paid on a student’s behalf, Baylor any
            of the following costs for the Spring 2020 semester: (a) tuition and/or (b) Fees and/or
            (c) meal plans (the “Class”).

            64.     Excluded from the Class are Baylor, any entity in which Baylor has a controlling
interest, and Baylor’s officers, directors, legal representatives, successors, subsidiaries, and
assigns. Also excluded from the Class are any judicial officer presiding over this matter, members
of their immediate family, and members of their judicial staff, and any Judge sitting in the presiding
court system who may hear an appeal of any judgment entered.
            65.     Plaintiff reserves the right to amend or modify the Class definition with greater
specificity or division after having had an opportunity to conduct discovery.
            66.     The Class meets the criteria for certification under Rule 23(a), (b)(2), (b)(3), and
(c)(4).
            67.     Numerosity. The members of the Classes are so numerous that individual joinder
of all Class Members is impracticable. Although the exact number of members of the Class is
unknown to Ms. King at this time and can be ascertained only through appropriate discovery,
Baylor’s website states that it has 17,204 students enrolled.36 Thus, there are likely thousands of
Class Members.
            68.     Commonality and Predominance. This action involves common questions of
law and fact that will drive the litigation and predominate over any questions affecting only

36
     https://www.baylor.edu/admissions/index.php?id=871978 (last accessed June 2, 2020).



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individual Class Members. Common questions include, but are not limited to:
                    a.     Whether Baylor engaged in the conduct alleged herein;

                    b.     Whether Baylor breached its contracts with Plaintiff and other Class
            Members by not refunding them a prorated amount of their tuition, Fees, and/or meal plan
            dining dollars on account of the closure of Baylor’s campus in the Spring 2020 semester;
                    c.     Whether Baylor was unjustly enriched by retaining fees and payments for
            meal plans of Plaintiff and other Class Members without providing the services that the
            Fees and meal plans were intended to cover;
                    d.     Whether Baylor was unjustly enriched by not refunding Plaintiff and other
            Class Members a prorated amount of their tuition to account for the difference in value

            between online and in-person education;
                    e.     Whether certification of the Class is appropriate under Rule 23; and
                    f.     The amount of damages incurred by Plaintiff and the Class Members.

            69.     Typicality. Plaintiff’s claims are typical of those of the other Class Members
because Plaintiff and the Class Members each paid for certain costs associated with the Spring
2020 semester at Baylor but were not provided the services that those costs were meant to cover.
Plaintiff and other Class Members suffered damages – the loss of their tuition, Fees, and payments
for meal plans paid – as a direct and proximate result of the wrongful conduct in which Baylor

engaged. Plaintiff’s claims arise from the same practices and course of conduct that gives rise to
the other Class Members’ claims.
            70.     Adequacy. Plaintiff is an adequate representative of the Class because her
interests are aligned, and do not conflict, with the interests of the other Class Members. Plaintiff
has retained counsel who are experienced and competent in complex class action litigation,
including consumer contract litigation. Plaintiff and her counsel intend to vigorously prosecute
this action for the benefit of the Class as a whole. Class Members’ interests will be fairly and
adequately protected by Plaintiff and her counsel.
            71.     Superiority. A class action is superior to any other available means for the fair and



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efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered
in the management of this class action. The damages or other financial detriment suffered by

Plaintiff and the other Class Members is relatively small compared to the burden and expense that
would be required to individually litigate their claims against Baylor, making it impracticable for
Class Members to individually seek redress for Baylor’s wrongful conduct. Even if Class Members
could afford individual litigation, the court system could not. Individual litigation creates a
potential for inconsistent or contradictory judgments and increases the delay and expense to all
parties and the court system. By contrast, the class action device presents far fewer management
difficulties and provides the benefits of a single adjudication, economies of scale, and
comprehensive supervision by a single court.

                                        CAUSES OF ACTION
                                              COUNT I
                                         Breach of Contract
                                  On behalf of Plaintiff and the Class

            72.     Ms. King and the Class Members repeat and allege paragraphs 1 through 71 above
as if fully alleged herein.
            73.     Ms. King brings this claim individually and on behalf of the other members of the
Class.
            74.     Ms. King and other Class Members entered into contracts with Baylor, which

provided that Ms. King and other Class Members would pay monies, and in exchange, Baylor
would provide access to an entirely on-campus education and experience, which includes face-to-
face academic instruction, along with a host of other educational services and extracurricular
activities. Pursuant to these contracts, Plaintiff and other Class Members also paid the Fees paid
for meal plans.
            75.     Each day for the weeks and months leading up to the closure of campus, students
attended physical classrooms to receive in-person instruction, and Defendant provided such in-
person instruction.
            76.     Likewise, Ms. King, and upon information and belief, most students were provided



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with syllabi and other documents that referenced class meeting schedules, locations, and physical
attendance requirements.

            77.     Each day for the weeks and months prior to announced closures students had access
to the full campus.
            78.     Accordingly, it is clear that Defendant offered to provide live in-person education
and that Ms. King and the Class Members accepted that offer by paying tuition and attending
classes in from the beginning of the Spring 2020 Semester until the campus closures.
            79.     In fact, it is clear that, prior to the COVID-19 interruption, Defendant had no plans
whatsoever to offer its in-person classes via an online delivery model.
            80.     Ms. King and other Class Members indicated their assent to the on-campus college

experience and fulfilled their end of the bargain when they paid the monies due and owing for the
Spring 2020 semester. Baylor did not. Specifically, Baylor failed to provide the agreed-upon on-
campus classes and services for which the tuition, Fees, and meal plan payments were paid for the

entire Spring 2020 semester. Accordingly, Baylor breached its contract(s) with Ms. King and other
Class Members, entitling Ms. King and Class Members to reimbursement of the monies paid for
the unused days of on-campus classes and services not received.
            81.     Baylor retained monies paid by Ms. King and other Class Members for the Spring
2020 semester for on-campus classes and other services for which the tuition, Fees, and meal plan

were paid without providing them the benefit of their bargain.
            82.     Although the meal plans and dining dollar payments were credited, Ms. King and
the Class Members are entitled to refunds.
            83.     Baylor’s performance under the contracts are not excused because of the COVID-
19 pandemic: the relevant contracts provide no such terms excusing performance given nationwide
pandemics. Thus, Baylor should have fully refunded the prorated portion of any unused fees and
meal plans, as well as provided a refund for the diminution in value of the education received for
online classes.
            84.     Ms. King and other Class Members performed their end of the contract by paying



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making all payments due for the Spring 2020 semester.
            85.     As a result of Baylor’s breach of contract, Ms. King and the other Class Members

were damaged financially in that they have been deprived of the benefit of their bargain, as
described herein and in amounts to be proven at trial.

                                              COUNT II
                                         Unjust Enrichment
                                         (In the alternative)
                                  On behalf of Plaintiff and the Class
            86.     Plaintiff and the Class Members repeat and allege paragraphs 1 through 71 above
as if fully alleged herein.
            87.     Ms. King brings this claim individually and on behalf of the other members of the

Class and in the alternative to the breach of contract claim brought on behalf of Ms. King and the
other members of the Class.
            88.     Ms. King and other Class Members conferred substantial monetary benefits on

Baylor by paying their tuition, Fees, and paying for meal plans and dining dollars for the Spring
2020 semester.
            89.     Baylor has accepted and retained those benefits at the expense of Ms. King and
other Class Members, without providing the services for which such payments were made. As to
the on-campus services and activities covered by the Fees and meal plan payments, zero benefit

was provided during the weeks in the Spring 2020 semester covering closure of Baylor’s
campuses. The tuition benefits were also diminished when students were forced to switch
exclusively to online classes.
            90.     Although the meal plan payments were credited, Ms. King and the Class Members
are entitled to refunds.
            91.     Baylor has been unjustly enriched by retaining the monies paid by Ms. King and
other Class Members for the Spring 2020 semester for services not provided or diminished by the
campus closure. Equity requires Baylor to return prorated amounts for tuition, Fees, and meal plan
payments paid by Ms. King and other Class Members as described herein and to be proven at trial.



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                                          PRAYER FOR RELIEF
            Plaintiff, on behalf of herself and all others similarly situated, requests that the Court enter

judgment as follows:
            a.       Enter an Order determining at the earliest possible time that this matter may
            proceed as a class action under Rule 23 and certifying this case as such;
            b.       Declaring Baylor’s policies in failing to pay refunds to be in breach of its contracts
            with students;
            c.       For herself and each Class Member, his or her actual compensatory damages in an
            amount to be proven at trial;
            d.       Equitable disgorgement and restitution in an amount to be proven at trial;

            e.       Reasonable attorneys’ fees and costs of suit;
            f.       Pre-judgment interest; and
            g.       Such other and further relief as this Court deems reasonable and just.


                              PLAINTIFF DEMANDS A TRIAL BY JURY
                             ON ALL CLAIMS AND ISSUES SO TRIABLE.



DATED: June 5, 2020                                                    Respectfully submitted,




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